Case No. 1:24-cv-02012-NYW   Document 25    filed 01/02/25   USDC Colorado   pg 1
                                    of 19
Case No. 1:24-cv-02012-NYW   Document 25    filed 01/02/25   USDC Colorado   pg 2
                                    of 19
Case No. 1:24-cv-02012-NYW   Document 25    filed 01/02/25   USDC Colorado   pg 3
                                    of 19
Case No. 1:24-cv-02012-NYW   Document 25    filed 01/02/25   USDC Colorado   pg 4
                                    of 19
Case No. 1:24-cv-02012-NYW   Document 25    filed 01/02/25   USDC Colorado   pg 5
                                    of 19
Case No. 1:24-cv-02012-NYW   Document 25    filed 01/02/25   USDC Colorado   pg 6
                                    of 19
Case No. 1:24-cv-02012-NYW   Document 25    filed 01/02/25   USDC Colorado   pg 7
                                    of 19
Case No. 1:24-cv-02012-NYW   Document 25    filed 01/02/25   USDC Colorado   pg 8
                                    of 19
Case No. 1:24-cv-02012-NYW   Document 25    filed 01/02/25   USDC Colorado   pg 9
                                    of 19
Case No. 1:24-cv-02012-NYW   Document 25 filed 01/02/25   USDC Colorado   pg 10
                                    of 19
Case No. 1:24-cv-02012-NYW   Document 25 filed 01/02/25   USDC Colorado   pg 11
                                    of 19
Case No. 1:24-cv-02012-NYW   Document 25 filed 01/02/25   USDC Colorado   pg 12
                                    of 19
Case No. 1:24-cv-02012-NYW   Document 25 filed 01/02/25   USDC Colorado   pg 13
                                    of 19
Case No. 1:24-cv-02012-NYW   Document 25 filed 01/02/25   USDC Colorado   pg 14
                                    of 19
Case No. 1:24-cv-02012-NYW   Document 25 filed 01/02/25   USDC Colorado   pg 15
                                    of 19
Case No. 1:24-cv-02012-NYW   Document 25 filed 01/02/25   USDC Colorado   pg 16
                                    of 19
Case No. 1:24-cv-02012-NYW   Document 25 filed 01/02/25   USDC Colorado   pg 17
                                    of 19
Case No. 1:24-cv-02012-NYW   Document 25 filed 01/02/25   USDC Colorado   pg 18
                                    of 19
Case No. 1:24-cv-02012-NYW   Document 25 filed 01/02/25   USDC Colorado   pg 19
                                    of 19
